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                     IN THE UNITED STATES DISTRICT COURT                       2021 SEP 22 P,~ 2: 23
                    FOR THE WESTERN DISTRICT OF WISCONSIN
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UNITED STATES OF AMERICA                                   INDICTMENT

             V.                                              2~
                                                Case No. - - - -- - - - CR Q9 8                                                   JDP
                                                         18 U.S.C. § 922(g)(l)
ANTHONY BROOKS,

                            Defendant.



THE GRAND JURY CHARGES:

                                         COUNTl

      On or about July 19, 2021, in the Western Dish·ict of Wisconsin, the defendant,

                                   ANTHONY BROOKS,

knowing he had previously been convicted of an offense punishable by a term of

imprisonment exceeding one year, knowingly and unlawfully possessed in or affecting

commerce an FN 9mm handgun, said firearm having previously traveled in and

affected interstate commerce.

              (In violation of Title 18, United States Code, Section 922(g)(1)).




                                           A TRUE BILL


                                           PkroINGJUROR
                                           Indictment returned:      u1/z;.Jz I
